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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

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  (Admitted pro hac vice)
  PROPOSED ATTORNEYS FOR DEBTOR
  In re:                                                        Chapter 11

  LTL MANAGEMENT LLC, 1                                         Case No.: 23-12825 (MBK)

                             Debtor.                            Judge: Michael B. Kaplan

                                                                Hearing Date and Time:
                                                                May 16, 2023 at 10:00 am


 DEBTOR’S OBJECTION TO THE OFFICIAL COMMITTEE OF TALC CLAIMANTS’
            MOTION TO COMPEL UNREDACTED DOCUMENTS

           LTL Management LLC, the debtor in the above-captioned case (the “Debtor” or “LTL”),

 submits this objection to The Official Committee of Talc Claimants’ Motion to Compel Unredacted

 Documents [Dkt. 504] (“Motion”). In support of this Objection, LTL respectfully states as follows:


          1
            The last four digits of Debtor’s taxpayer identification number are 6622. Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.



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                                PRELIMINARY STATEMENT

        The Official Committee of Talc Claimants’ (“TCC”) motion to compel LTL to “produce

 unredacted copies of documents produced by LTL to date in these proceedings,” Mot. at ¶ 2, should

 be denied.

        First, the TCC has failed to meet and confer with the Debtor, prior to filing the Motion, as

 required by D.N.J. LBR 7037-1 and Federal Rule of Civil Procedure 37. For this reason alone, the

 TCC’s Motion should be denied.

        Second, the TCC seeks two categories of unredacted documents: (i) presentations from

 LTL counsel to the LTL board, and (ii) lists of claimants attached as exhibits to Plan Support

 Agreements, including such highly personal information as social security numbers, dates of birth,

 and health information. The presentations to the LTL board are protected by attorney-client

 privilege and the federal work-product doctrine—neither of which has been waived. The list of

 claimants is protected by well-established precedent protecting highly sensitive personal

 information from discovery. Further, the TCC’s motion to compel the production of unredacted

 personal information of the claimants, from the Debtor, is premature and inappropriate in light of

 the Ad Hoc Committee of Supporting Counsel’s pending motion to seal this same information.

 [Dkt. 471] (“Ad Hoc Committee Motion”) (hearing date set for June 1, 2023). For these reasons,

 the TCC’s Motion should be denied.

                                          ARGUMENT

   I.   THE MOVANT HAS FAILED TO MEET AND CONFER WITH THE DEBTOR AS
        REQUIRED BY D.N.J. LBR 7037-1 AND RULE 37

        1.      Before filing the Motion, the TCC was required to meet and confer with the Debtor,

 as per D. NJ LBR 7037-1 and Bankruptcy Rule 7037/Federal Rule of Civil Procedure 37.




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        2.      When a moving party files a motion to compel discovery, D.N.J. LBR 7037-1

 requires the moving party to file a certification documenting its attempt to meet and confer with

 the opposing party:

         (a) Certification. The certification required under Bankruptcy Rule 7037 must identify the
        date and means by which the movant conferred or attempted to confer with the person or
        party failing to make disclosure or provide discovery.

        (b) Supporting evidence. The certification in support of a motion for an order compelling
        disclosure or discovery must include as an exhibit a copy of the pertinent portion of the
        deposition, interrogatory, request for admission, response, or any other document on which
        the motion is based.

        D.N.J. LBR 7037-1.


        3.      In addition to the requirements of D.N.J. LBR 7037-1, Federal Rule of Civil

 Procedure 37, made applicable by Bankruptcy Rule 7037, also requires the moving party to

 provide the Court with a similar certification:

        (a) Motion for an Order Compelling Disclosure or Discovery.

        (1) In General. On notice to other parties and all affected persons, a party may move for an
        order compelling disclosure or discovery. The motion must include a certification that the
        movant has in good faith conferred or attempted to confer with the person or party failing
        to make disclosure or discovery in an effort to obtain it without court action.

        Fed. R. Civ. P. 37.

        4.      The TCC’s Motion did not provide the certification required by D.N.J. LBR 7037-

 1 and/or Bankruptcy Rule 7037/Federal Rule of Civil Procedure 37. The TCC could not do so

 because it did not confer with—or attempt to confer with—the Debtor prior to the filing of the

 Motion.

        5.      Indeed, a meet and confer in this situation may have obviated the need for this

 Motion and hearing. For example, the Motion assumes that pages and slides of the LTL board

 presentations were redacted on the grounds of relevance. That is not accurate. The redactions



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      were made to protect attorney-client communications. In a meet and confer, the Debtor would have

   disclosed that information to the TCC. A meet and confer could have prevented the myriad hours

   and resources since expended on this Motion.

             6.     As to the claimants’ personal identifiable information, compliance with these rules

   is particularly important here because the information being sought is highly sensitive and directly

   concerns the clients of the Ad Hoc Committee of Supporting Counsel. In fact, this same

   information is the subject of the Ad Hoc Committee of Supporting Counsel’s pending motion. See

   Ad Hoc Committee Mot.

             7.     The TCC’s failure to comply with the requirements of D.N.J. LBR 7037-1 and

   Bankruptcy Rule 7037/Federal Rule of Civil Procedure 37 serves as an independent basis to deny

   the TCC’s Motion.

II.          THE REDACTED INFORMATION IN THE BOARD PRESENTATIONS IS
             PROTECTED BY ATTORNEY-CLIENT PRIVILEGE AND THE FEDERAL
             WORK-PRODUCT DOCTRINE

             8.     The TCC’s assertion that the Debtor has withheld these redacted board

      presentations on grounds of relevance is mistaken. As the TCC would have understood had it met

      and conferred with the Debtor, these documents were withheld on the grounds of attorney-client

      privilege and the federal work-product doctrine.

             9.     The redactions in the board presentations reflect privileged attorney-client

  communications because they were made between Debtor and its counsel for the purpose of

  obtaining or providing legal advice. See Upjohn v. United States, 449 U.S. 383, 390, 101 S.Ct.

   1677 (1981) (“Attorney-client privilege exists to protect not only giving of professional advice to

  those who can act on it but also the giving of information to lawyer to enable him to give sound

  and informed advice.”); see also La. Mun. Police Emps. Ret. Sys. v. Sealed Air Corp., 253 F.R.D.

   300, 305 (D.N.J. 2008) (“It is axiomatic that the privilege extends to corporations.”) (citing In re


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 Bevill, Bresler & Schulman Asset Mgmt. Corp., 805 F.2d 120, 124 (3d Cir. 1986)). As such, the

 attorney-client privilege applies to these communications and LTL cannot obtain these

 communications.

         10.     The redactions in the board presentations also reflect information protected by the

 federal work-product doctrine. La. Mun. Police Emps., 253 F.R.D. at 306 (“The federal work-

 product doctrine is set forth in Federal Rule of Civil Procedure 26(b)(3), which provides:

 Ordinarily, a party may not discover documents and tangible things that are prepared in

 anticipation of litigation or for trial by or for another party or its representative (including the other

 party's attorney, consultant, surety, indemnitor, insurer, or agent)”).

         11.     This doctrine “shelters the mental processes of the attorney, providing a privileged

 area within which he can analyze and prepare his client's case.” In re Cendant Corp. Sec. Litig.,

 343 F.3d 658, 661–62 (3d Cir. 2003) (quoting United States v. Nobles, 422 U.S. 225, 238 & n. 11,

 95 S.Ct. 2160, 45 L.Ed.2d 141 (1975)).

         12.     The Debtor has not waived its privilege over the redacted communications.

         13.     The TCC accuses the Debtor of “selective disclosure”; however, this is a baseless

 allegation. The Debtor has complied with its responsibility to disclose nonprivileged information,

 while maintaining its privileged communications. See Upjohn, 449 U.S. at 395 (citation omitted)

 (“[T]he protection of the privilege extends only to communications and not to facts.”).

         14.     The TCC also mischaracterizes the Debtor’s production. Paragraph 4 of the Motion

 attacks a redaction on slide 6 of the March 28 presentation on “SUPPORTED PLAN TERMS.”

 Mot. ¶ 4. The Debtor, in fact, provided another version of that document without redactions just

 days later, as Bates No. LTLMGMT-00002641, at 46. The same is true for a similar slide in the




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       April 2, 2023 presentation. Again, a meet and confer would have clarified this matter and obviated

       the need for this Motion.

              15.     Moreover, contrary to the TCC’s allegations, the Debtor has neither put at issue its

    privileged attorney-client communications with the board nor its counsels’ work product. Mot. ¶

    3-4. The Debtor has not used and will not use any privileged communications in opposing the

    motions to dismiss or otherwise in pursuing chapter 11 relief. See Rhone-Poulenc Rorer Inc. v.

    Home Indem. Co., 32 F.3d 851, 864 (3d Cir. 1994).

III.          THE CLAIMANTS’ PERSONAL IDENTIFIABLE INFORMATION IN THE PLAN
              SUPPORT AGREEMENTS IS PROTECTED

              16.     The redactions in the lists of claimants attached to the Plan Support Agreements

   are protected as personal identifiable information.

              17.     These redactions contain the highly sensitive personal information of claimants,

   including their full names, addresses, dates of birth, social security numbers, and other health and

   personal information.

              18.     The Bankruptcy Code permits bankruptcy courts to limit or prohibit the public’s

    access to sensitive information by sealing documents that would typically be open to the public.

    See 11 U.S.C. § 107; see also In re Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001) (highlighting

    that the public’s right of access to information is not absolute); Leucadia, Inc. v. Applied Extrusion

    Tech., Inc., 998 F.2d 157, 165 (3d Cir. 1993) (same).

              19.     Section 107 of the Bankruptcy Code authorizes the bankruptcy courts to protect the

    personal information of individuals, and states in relevant part:

              (b) On request of a party in interest, the bankruptcy court shall, and on the bankruptcy
              court’s own motion, the bankruptcy court may—(1) protect an entity with respect to a trade
              secret or confidential research, development, or commercial information. . . .

              ...



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        (c) (1) The bankruptcy court, for cause, may protect an individual, with respect to the
        following types of information to the extent the court finds that disclosure of such
        information would create undue risk of identity theft or other unlawful injury to the
        individual or the individual’s property:

                (A) Any means of identification (as defined in section 1028(d) of title 18) contained
                    in a paper filed, or to be filed, in a case under this title.

                (B) Other information contained in a paper described in subparagraph (A)

        11 U.S.C. § 107.

        20.     Section 105(a) of the Bankruptcy Code also provides bankruptcy courts with the

 equitable power to “issue any order, process, or judgment that is necessary or appropriate to carry

 out the provisions” of the Bankruptcy Code. See 11 U.S.C. § 105(a).

        21.     Further, the District Court for New Jersey has routinely denied or limited discovery

 requests for personal identifiable information. Evans v. Metro. Life Ins. Co., No. CV 03-

 4915(RBK), 2005 WL 8161263, at *3 (D.N.J. Sept. 7, 2005) (denying plaintiff’s discovery request

 for “highly personal and confidential information,” including the names, ages, and other personal

 information of employees); Preston v. Malcolm, No. CIV.A. 09-3714JAP, 2009 WL 4796797, at

 *8 (D.N.J. Dec. 8, 2009) (requiring a protective order to prevent disclosure of documents

 referencing social security numbers and other personal information); Ford Motor Co. v. Edgewood

 Properties, Inc., No. CIV.A. 06-1278 WJM, 2011 WL 601312, at *4 (D.N.J. Feb. 15, 2011)

 (granting a protective order to prevent disclosure of “highly personal information”); Bd. of

 Trustees of Trucking Emps. of N. Jersey Welfare Fund, Inc. v. Caliber Auto Transfer, Inc., No.

 CIV.A. 09-6447 DRD, 2011 WL 2670948, at *6 (D.N.J. June 30, 2011) (granting a protective

 order to prevent and limit disclosure of personal financial information). See also Serrano v.

 Underground Utilities Corp., 407 N.J. Super. 253, 273, 970 A.2d 1054, 1066 (App. Div. 2009)




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 (stating that “several courts have denied defendants’ requests to discover the addresses, Social

 Security numbers, and driver’s license numbers of named plaintiffs and putative class members.”).

        22.     Courts have been particularly protective of personal identifiable information in

 cases where the personal information may be exposed to the media. Welch v. Bd. of Directors of

 Wildwood Golf Club, 146 F.R.D. 131, 140-41 (W.D. Pa. 1993) (considering the defendant’s

 concerns about plaintiff’s previous media exposure, the court granted a protective order to prevent

 the release of the defendant’s health, financial, and other personal information to the public).

        23.     Indeed, the Ad Hoc Committee of Supporting Counsel has already moved to seal

 the very same redacted information that the TCC now seeks from the Debtor. See Ad Hoc

 Committee Mot. With a hearing date set for June 1, 2023, the Ad Hoc Committee Motion is still

 pending, and it is both premature and inappropriate for the TCC to attempt an end-run around the

 Ad Hoc Committee of Supporting Counsel’s motion and the protections that may be appropriate

 in connection with its sealing requests by seeking unredacted information from the Debtor.

        24.     Moreover, the TCC has not established a proper basis for relevance or

 proportionality with respect to its request for this personal identifiable information, especially

 considering the risks associated with the potential release of the claimants’ personal information,

 including social security numbers. The TCC claims to have a verification need for this highly

 sensitive information but has not substantiated that need or demonstrated that it has considered

 alternatives. For example, each of the members of the Ad Hoc Committee of Supporting Counsel

 has already executed an acknowledgement to a Verified Statement stating that their client

 claimants’ information is true and correct to the best of their knowledge. Verified Statement of

 Paul Hastings LLP, Cole Schotz P.C. and Parkins & Rubio LLP Pursuant to Bankruptcy Rule

 2019 [Dkt. 470], ¶ 52, Ex. Q.




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                                         CONCLUSION

        25.     The Motion should be denied because the TCC failed to follow the proper

 procedure to meet and confer with the Debtor prior to the filing of this Motion. Further, the

 redacted information from the LTL board presentations is protected by the attorney-client privilege

 and federal work-product doctrine; and the TCC has not established any waiver of this protected

 information. The Motion to obtain personal identifiable information of the claimants is also

 premature and should be denied.



 Dated: May 15, 2023                               WOLLMUTH MAHER & DEUTSCH LLP

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